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               Exhibit C
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 STATE OF TEXAS
                                                           In re Travis Trevitio Runnels
 COUNTY OF DALLAS }


                        AFFIDAVIT OF DARMONICA RUNNELS


         DARMONICA RUNNELS, being first duly sworn, appeared before the undersigned
 authority duly designated to administer oaths and states as follows:

    1.    My name is Darmonica Runnels. I am over the age of 18 and otherwise competent to
          give this affidavit.

    2.    I am the older brother of Travis Treviiio Runnels ("Travis").   I am about three years
          older than Travis.

   3.     Travis and I grew up in South Dallas, where violence was of the norm. I always
          thought the kinds of things we witnessed as kids were normal, until I got older and
          realized that not everybody was exposed to the kinds of things we saw.

   4.     One time, Travis and I were walking to the bus stop at about 7:00 in the morning
          when we passed a dead body in the street. We were probably in elementary school.
          There were police cars all around. The body was covered by a sheet and there was
          blood all over. Later, we found out on the news that the guy was someone from the
          neighborhood who people referred to as "Fleabag."

   5.    The cops were something to be feared in our neighborhoods. Travis and I witnessed
         police beating up people in the neighborhood many times. These kinds of incidents
         were common in South Dallas.

   6.    Another time in elementary school, Travis and I were on a school bus. The bus made
         a stop at the corner of Pine and Colonial. We could not move because the street was
         blocked by police cars. Outside, we could just see policeman beating up a man as he
         lay on the ground. --

   7.    When we were outside playing, the police would come around asking us if we had
         seen someone they were looking for. The police would offer us baseball cards and
         candy if we would give them information.

   8.    We had a great uncle by the name of Horace Brooks who was killed by the police
         right in front of my great-grandmother Lula's house. Before he died, I remember
         visiting this uncle in some kind of mental facility. To me it seemed like a zoo,
         because there were all these cages around. My uncle Horace used to talk to himself a
         lot.

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    9.     Drugs were also very prevalent in our neighborhoods. I remember there would
           always be needles on the ground in the back of my great-grandmother Lula's house.

    10.    Violence not only prevalent in the streets, but within our own family as well. Our
           family was dysfunctional. I don't really know how to explain it, but things would just
           get crazy; fights would break out all the time between my mom and her siblings. And
           they were physical fist fights, not just arguing.

    11.   My uncle James is my mother's oldest brother. He used to live at my grandmother's
          house. James was always drinking, getting high, acting out. When Travis was about
           13 or 14 years old, James pulled a rifle on him, pointing it straight in his face. Travis
          told James something about putting that rifle away, and James responded like this: he
          went inside and got two bullets, came back out and said "this one's for you, and the
          other one's for you" referring to me and Travis. Then he shot two times in the air.

    12.   My uncle James used to take us kids riding around with him all the time, even when
          he was drunk. One time, when I was about six years old, my uncle James took me,
          Travis, and my cousins Nikki and Queena to a house. I think it was a dope house.
          All of us kids were sitting in the bed of James' truck. James went inside the house
          and we waited outside in the truck. A little while later, we saw a woman run out of
          the house with something in her hands. A man appeared after her and shot her in the
          back about six times. We were just shocked. I don't know what happened to that
          woman; she probably died.

    13.    Another time, Travis and I were at our grandparents' house. James had asked my
           grandfather for something, and my grandfather wouldn't give it to him, so they got
           into an argument. James went outside. Travis and I were sitting in front of the TV.
          The next thing we knew, a tire rim came flying through the front door. James had
          just flung it because he was mad.

   14.    My mother liked to party all the time. She was always at the club on the weekends or
          drinking at home. She drank a lot, to the point where she got drunk.

   15.    I did not know too much about Travis' academic performance in school. I just
          thought he never liked school. My mother, on the other hand, never noticed Travis'
          grades because she had her own problems.

   16.    My parents were divorced before Travis was born. But they stayed together for some
          time, up until Travis was in the third grade. Even though they were together, they did
          not always live together.

   17.    Travis and I went back and forth between my mom and dad's house. Whenever we
          stayed with my dad, ever since I was 8 or 9 years old, we were always left at home by
          ourselves. It would be me, Travis, and our cousin, Joel. We were left alone on

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             weeknights as well as weekends. If we needed to eat, we would just order pizza, or
             our dad would order pizza before he left. It was during these times that we got into a
             lot of fights. Joel and I used to beat up on Travis a lot because we were older.

      18.    After my parents separated, my mom lived with a man by the name of Tommy Keith
             Neal ("Keith"). I never lived with Keith. I stayed with my father because I got along
             well with him. Travis lived with my mom and Keith. Travis would sometimes call
             me and say that Keith was "beating up on mom again."

      19.   Travis lived with my father for one or two years, at most. It was during his teenage
            years. He finally left because he was tired of getting whoopings from my dad.

     20.    Travis got whoopings all the time, at least one or two times a week. Travis got
            whoopings from our mom, our dad, our grandparents, and even our great-
            grandmother, Lula. They would use belts or switches. The whoopings would last
            about five to ten minutes. We would get whoopings all over our body.

     21.    Travis always got more whoopings than me because he acted out more. In a sense,
            Travis did not learn from his mistakes. Apparently, he didn't give a damn about
            whoopings because he always seemed to get in trouble again.

     22.    I came to learn what would get me a whooping, so I learned what not to do. I think I
            also got away with a lot more because I knew how to be sneaky.

     23.    Travis did not really know how to be sneaky. He always got caught for what he did.

     24.    Our parents did not really keep up with our education. When report cards came out,
            sometimes they would look at them, sometimes they wouldn't. One time, I brought
            home a failing grade. I changed it to a B, and my mother didn't even notice. I
            learned that I could do this if I ever got a bad grade.

     25.    Travis never changed his grades even though he had many failing grades. I don't
            know why he never did, but I don't think he was that sharp.

     26.    Travis was not that smart as far as thinking. It seemed like he did not care about
            school. I never really heard Travis read when he was young. I never helped Travis
            with his homework because Travis never did homework.

     17.    I also never did homework. I never brought books home. But, I was an honor roll
            student. In high school, I went to good magnet schools. Travis couldn't go to these
            schools because he didn't have the grades. I placed first in a mock trial competition.
            I was invited to go to Austin for a state competition, but I didn't have the money so I
            didn't go. I graduated from high school.



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    28.   I once saw Travis run head first into a flagpole when we were at Colonial Elementary
          School. It was after school, and Travis and I started to race. Travis was running full
          speed. He looked back and ran straight into an iron flagpole, head-on. He was
          knocked out for a few seconds.

    29.   Travis just did things that just didn't make sense. For example, one time Travis and I
          were put to sweep leaves at our grandfather's house. There was a bag full of leaves.
          Before we finished, Travis just kicked the bag and all the leaves came out. He was
          laughing because he thought it was so funny. It was like he didn't understand all the
          work that we had to do.

    30.   When Travis was in high school, and I had moved into my own apartment, Travis
          came to live with me for a few months. One night, he went to a football game and
          accidentally left the skillet on. The apartment burned down. I remember Travis
          thought it was funny.

    31.   When Travis would do things like this, I would think, why would he do something
          like that? Is he retarded or something?

    32.   Travis just played too much as a kid. He never knew when to stop. He was always
          playing. Because of his behavior, that he was always up to something, me and my
          cousin Joel used to beat up on Travis. But Travis would put up a fight; he would not
          give up, even though he was younger than us.

    33.   Travis and I were just different. We were cool as brothers, but knowing him, you just
          had to figure something was wrong.

    34,   Before Travis' trial, I met with an investigator on Travis' defense team. I do not
          remember how many times or for how long, but it was probably around two times.
          One of those times, it was more like a general meeting where she talked to all of us
          together. It would have been me, my mother, my grandmother, and maybe my uncle
          who she talked to that time. Other than those few times, I met with Travis' lawyer at
          a hotel.

    35.   About a week before trial, Travis' lawyer and investigator came to Dallas and talked
          to me and my mother over lunch.

    36.   During these meetings, the investigator or lawyer would say that they wanted to know
          about Travis' life. I would answer whatever questions they asked me. If anyone
          would have asked me detailed and sensitive questions about our childhood, such as
          the whoopings Travis always used to get, or the way my mom drank and partied all
          the time, or about the violence both in my family and on the streets, I would have
          answered those questions, too. I would have told them everything I have stated in
          this affidavit.

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                 37.      I did not testify at the punishment phase of Travis' capital trial. I was never served
                          with a subpoena.


              have read this affidavit and swear upon pain of penalty and perjury that it is true and correct.



                                                                                                  Date

          Signed and sworn before me this                                (7*    day of September, 2007.



                                                                                                          Notary blic, State of Texas


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